Case 2:20-cv-02600-SHL-tmp Document 207 Filed 03/08/22 Page 1 of 6                     PageID 3575




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE

  FUSION ELITE ALL STARS, et al.,

                        Plaintiffs,
                                                    Case No. 2:20-cv-02600-SHL-tmp
  v.
                                                    JURY TRIAL DEMANDED
  VARSITY BRANDS, LLC, et al.,

                       Defendants.


  PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE REPLY IN SUPPORT
     OF PLAINTIFFS’ MOTION TO COMPEL DISCOVERY RESPONSES FROM
  DEFENDANTS VARSITY BRANDS, LLC, VARSITY SPIRIT, LLC, VARSITY SPIRIT
         FASHION & SUPPLIES, LLC AND U.S. ALL STAR FEDERATION

        Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics, Stars and Stripes

 Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn Anne Radek,

 Lauren Hayes, and Janine Cherasaro (collectively, “Plaintiffs”) respectfully move the Court,

 pursuant to Local Rules 7.2(c), for leave to file a reply memorandum (“Reply”) in support of their

 Motion to Compel Discovery Responses (“Motion”) from Defendants Varsity Brands, LLC,

 Varsity Spirit, LLC, Varsity Spirit Fashion & Supplies, LLC (“Varsity”) and U.S. All Star

 Federation (“USASF”).

        1.      On February 15, 2022, Plaintiffs filed their Motion, which included a memorandum

 in support totaling 9 ½ pages in accordance with Local Rule 7.2(e). Plaintiffs also submitted four

 exhibits in support of the Motion. (Dkt. 199.)

        2.      On March 1, 2022, Varsity and USASF each filed separate responses in opposition

 to the Motion (Dkts. 203, 204.)

        3.      Defendants’ responses raise issues that require a reply, including representations

 about the nature of the discovery agreements made by the parties, the nature of the discovery
Case 2:20-cv-02600-SHL-tmp Document 207 Filed 03/08/22 Page 2 of 6                       PageID 3576




 served by each party, the burden that would result from the discovery sought, the applicability of

 certain evidentiary rules to the discovery sought, and the need for discovery sanctions.

         4.      Plaintiffs seek leave to file a single reply totaling 7 pages that will address both

 Varsity’s and USASF’s responses, attached as Exhibit 1, with a Declaration, attached as Exhibit

 2.

         For these reasons, Plaintiffs respectfully request leave to file their Reply. Plaintiffs make

 this timely request within 7 days of service of Defendants’ Response. Defendants do not oppose

 the relief sought by Plaintiffs.



 Dated: March 8, 2022                      Respectfully submitted,

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Case 2:20-cv-02600-SHL-tmp Document 207 Filed 03/08/22 Page 3 of 6       PageID 3577




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                                       3
Case 2:20-cv-02600-SHL-tmp Document 207 Filed 03/08/22 Page 4 of 6        PageID 3578




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                                       4
Case 2:20-cv-02600-SHL-tmp Document 207 Filed 03/08/22 Page 5 of 6                   PageID 3579




                              CERTIFICATE OF GOOD FAITH

        Consistent with Local Rule 26.1(b)(1) and 7.2(a)(1)(B), counsel for Plaintiffs conferred

  with counsel for Defendants, and Defendants agreed to the relief requested in this Motion.



                                             /s/ Victoria Sims
                                             Victoria Sims




                                                 5
Case 2:20-cv-02600-SHL-tmp Document 207 Filed 03/08/22 Page 6 of 6                 PageID 3580




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 8, 2022, the foregoing was served via ECF

 processing upon the following:

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